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                                          October 16, 2020
 By ECF
 The Honorable Katherine Polk Failla
 United States District Court Judge for the
 Southern District of New York
 Thurgood Marshall United States Courthouse
                                                                    MEMO ENDORSED
 40 Foley Square
 New York, NY 10007

              Pacific Life Ins. Co. v. The Bank of New York Mellon, 17-cv-1388-KPF
                Subject: Sealing Request Regarding Plaintiffs’ Oppositions to
                   Defendants’ Motions Exclude Opinions and Testimony of
                              Plaintiffs’ Experts [ECF Nos. 150-159]

 Dear Judge Failla:

        Pursuant to Rule 9 of your Individual Practices, Plaintiffs Pacific Life Insurance Co., and
Pacific Life & Annuity Co. request permission to redact portions of the documents attached as
Exhibits 7, 11, 14, 22 (the “Redacted Exhibits”) to the Declaration of Philip R. Schatz in
Opposition to BNYM’s Motions to Exclude the Opinions of PacLife’s Experts [ECF Nos. 150-
159] and references to them in PacLife’s Memorandum of Law in Opposition to BNYM’s Motion
to Exclude Opinions of Ingrid Beckles (“Beckles Opposition”) and to file under seal documents
attached as Exhibits 6 and 8 (the “Sealed Exhibits”) to the Schatz Declaration. The Sealed
Exhibits and redacted portions of the Redacted Exhibits and Beckles Opposition have been
designated as “Confidential” by BNYM under the Protective Order in this case [ECF No. 72], and
BNYM has requested that we file them under seal. As required by Rule 9(B), we will file under
seal unredacted copies of the Redacted Exhibits, Sealed Exhibits and Beckles Opposition. We are
also emailing Chambers unredacted clean copies of the Redacted Exhibits, Sealed Exhibits and
Beckles Opposition as well as copies highlighting the information that has been redacted in
response to BNYM’s request.
        The redacted portions of the Redacted Exhibits, Sealed Exhibits and Beckles
 Opposition do not contain information concerning Plaintiffs. Plaintiffs do not concede that
 materials designated as confidential by BNYM are confidential, or that the redactions are
 appropriate.


                                                         Respectfully submitted,

                                                         /s/ Ryan A. Kane

                                                         Ryan A. Kane
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Application GRANTED. Plaintiffs may redact portions of Exhibits 7, 11,
14, and 22 to the Declaration of Philip R. Schatz, as well as references
to those exhibits in their briefing, and may file under seal unredacted
copies of those exhibits. Plaintiffs may also file under seal Exhibits 6
and 8 to the Declaration of Philip R. Schatz. The sealed copies shall be
viewable to the Court and parties only.

Dated:    October 19, 2020              SO ORDERED.
          New York, New York




                                        HON. KATHERINE POLK FAILLA
                                        UNITED STATES DISTRICT JUDGE
